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                                                                                        Pg 1 of 77

 Fill in this information to identify the case:

                J.P.R. Mechanical Inc.
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
                                        19-23480
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          866,453.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                     46,838,194.51
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                        47,704,647.51
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                       22,962,474.68



4. Total liabilities ...........................................................................................................................................................................       22,962,474.68
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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                                                                    Pg 2 of 77
  Fill in this information to identify the case:

               J.P.R. Mechanical Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
  Case number (If known):
                                 19-23480
                                _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Dime Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              8
                                                                                               ____    7
                                                                                                      ____    7
                                                                                                             ____   9
                                                                                                                    ____         $______________________
                                                                                                                                   494,700.29
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 7,223,493.94
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 7,718,194.23
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Security Deposit for 429-433 E 164th Street with Action Paper Co. Inc.
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    19,095.00
         See continuation sheet
    7.2._________________________________________________________________________________________________________                 $_______________________
                                                                                                                                    101,666.67



   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor           J.P.R. Mechanical Inc.
                _______________________________________________________Pg 3 of 77                          19-23480
                                                                                    Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
                                                                                                                                    120,761.67
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     17,674,429.94
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    17,674,429.94
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         17,894,434.67
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    17,894,434.67
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    35,568,864.61
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                              page 2
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                   J.P.R. Mechanical Inc.                                                              19-23480
Debtor                                                             Pg 4 of 77
                  _______________________________________________________       Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                                                                                                      0.00
  To Be Provided
   ________________________________________                   ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   0.00
                                                                                                                                    $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
                                                                                                       0.00
     ✔                      10,000.00
            Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                J.P.R. Mechanical Inc.                            Pg 5 of 77
               _______________________________________________________                                19-23480
                                                                               Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Miscellaneous Office Furniture
                                                                                    5,000.00
                                                                                  $________________   ____________________       5,000.00
                                                                                                                               $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Miscellaneous Office Furniture                                                      83,529.00                                    64,034.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 69,034.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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 Debtor
                  J.P.R. Mechanical Inc.
                                                                Pg 6 of 77
                 _______________________________________________________
                                                                                                    19-23480
                                                                             Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2018 Hino Flatbed                                                  130,770.00                                   27,492.00
    47.1___________________________________________________________         $________________   ____________________    $______________________
          2018 Hino                                                          101,707.00                                   28,548.00
    47.2___________________________________________________________         $________________   ____________________    $______________________
          2018 Boom Truck Ken T370                                           265,233.00                                   82,113.00
    47.3___________________________________________________________         $________________   ____________________    $______________________
          See continuation sheet                                             251,011.00                                   158,807.00
    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Miscellaneous Construction Machinery & Equipment
                                                                             2,484,380.00                                 2,484,380.00
    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.                                                                                                      2,781,340.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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                J.P.R. Mechanical Inc.                                                                   19-23480
 Debtor                                                              Pg 7 of 77
                  _______________________________________________________         Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       441 E. 164th Street                                     Lease
55.1
       Bronx, NY 10456
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________
       434 E 164th Street                                     Lease
55.2
       Bronx, NY 10456
                                                                                                                                    0.00
                                                                                     $_______________     ____________________     $_____________________
       See continuation sheet
55.3
                                                                                      866,453.00                                    866,453.00
                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                866,453.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
                                                                                                                                     Unknown
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




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Debtor            J.P.R. Mechanical Inc.                             Pg 8 of 77
                 _______________________________________________________                                 19-23480
                                                                                  Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                      _______________     –   __________________________         =   $_____________________
                                                                      Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      Possible NYC refund for tax credits
     _________________________________________________________________________________                                2018
                                                                                                            Tax year ___________        Unknown
                                                                                                                                      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                            Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     See continuation sheet
    ______________________________________________________________                                                                      580,000.00
                                                                                                                                      $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                        580,000.00
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                   page 7
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Debtor
                   J.P.R. Mechanical Inc.
                  _______________________________________________________   Pg 9 of 77                          19-23480
                                                                                         Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         7,718,194.23
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         120,761.67
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         35,568,864.61
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         69,034.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         2,781,340.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               866,453.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         580,000.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         46,838,194.51                         866,453.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  47,704,647.51                                                                                    47,704,647.51
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                J.P.R. Mechanical Inc.                          Pg 10 of 77                19-23480
 Debtor 1                                                             _                 Case number (if known)
               First Name     Middle Name         Last Name



                                                      Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Dime Bank                                    Checking

Balance: 7,223,493.94

Signature Bank                               Checking                               6727

Balance: 0.00


7) Deposits, including security deposits and utility deposits

Security Deposit for 434 E 164th                                 $47,783.33
Street with A&I Realty

Security Deposit for 441 E 164th                                 $53,883.34
Street with A&I Realty


47) Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

2017 Hino                            97,789.00                                                        44,750.00

2017 Hino                            92,351.00                                                        53,186.00

2011 Mercedes                        60,871.00                                                        60,871.00
M2CA170


55) Real property

429-441 E 164th                      866,453.00                                                       866,453.00
Street
Bronx, NY 10456

Leasehold

255 Main Street,                                                                                      0.00
2nd Floor
New Rochelle, NY
10804

Lease


74) Causes of action against third parties (whether or not a lawsuit has been filed)

Signature Bank for                   money owed                    180,000.00                         180,000.00
reversing employer
payroll

Dime Bank for                        money owed                    400,000.00                         400,000.00
reversing employer
payroll




Official Form 206 A/B                                              Schedule A/B: Property
              19-23480-rdd                   Doc 91              Filed 10/07/19 Entered 10/07/19 11:52:49                                   Main Document
                                                                             Pg 11 of 77
  Fill in this information to identify the case:
              J.P.R. Mechanical Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of New York
                                 19-23480
  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien             of collateral.            claim
     Advanced Service Group LLC

      __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________          Unknown
                                                                                                                                                              $_________________

     Creditor’s mailing address

      2-01 50th Avenue
      ________________________________________________________
      Long Island City, NY 11101
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   Blanket  Lien
                                                                   _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred           __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     BMO Harris Bank NA
                                                                  UCC-1 Filed 1-11-2018                                            $__________________
                                                                                                                                    Unknown                   $_________________
                                                                                                                                                               Unknown
      __________________________________________
     Creditor’s mailing address
      300 E John carpenter FWY
      ________________________________________________________
      Irving, TX 75062
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       Equipment Lien
                                                                   _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      0.00
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            6
                                                                                                                                                                page 1 of ___
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  Debtor            _______________________________________________________ Pg 12 of 77   Case number (if known)_____________________________________
                    Name



                                                                                                                                   Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Commercial Capital Company, LLC
                                                                  UCC-1 Filed 10-14-2016
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address

     8215 Melrose Drive
     ________________________________________________________

     Shawnee Mission, KS 66214
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________           Describe the lien
    Last 4 digits of account                                       Equipment Lien
                                                                   __________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


2.__
  4 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     CT Corportation System
                                                                  UCC-1 Filed 6/27/2019
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address


      330 N. Brand Blvd., Ste 700
     ________________________________________________________

      Attn: Sprsm, Glendale, CA 91203
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                  Describe the lien
    Last 4 digits of account
    number                   _________________                     by unknown entity
                                                                   __________________________________________________


    Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
    same property?                                                 
                                                                   ✔   No
    
    ✔ No                                                              Yes

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
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  Debtor            _______________________________________________________ Pg 13 of 77   Case number (if known)_____________________________________
                    Name



                                                                                                                                   Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Dime Community Bank
                                                                  UCC-1 Filed 1/17/2019 and 1/29/2019
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address

     300 Cadman Plaza West
     ________________________________________________________

     8th Flr, Brooklyn, NY 11201
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________           Describe the lien
    Last 4 digits of account                                       Blanket Lien
                                                                   __________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


2.__
  6 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     HYG Financial Service Inc.
                                                                  UCC-1 Filed 11/3/2016
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address


      PO BOx 35701
     ________________________________________________________

      Billings, MT 59107
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                  Describe the lien
    Last 4 digits of account
    number                   _________________                     Equipment Lien
                                                                   __________________________________________________


    Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
    same property?                                                 
                                                                   ✔   No
    
    ✔ No                                                              Yes

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
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                                                                                                                                                                          6
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                    Name



                                                                                                                                   Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Isuza Finance of America
                                                                  UCC-1 Filed - 6/29/2019
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address

     2500 Westchester Avenue
     ________________________________________________________

     Purchase, NY 10577
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________           Describe the lien
    Last 4 digits of account                                       Agreement you made
                                                                   __________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


2.__
  8 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Key Equipment Finance
                                                                  UCC-1 Filed 8/8/2016 and 10/6/2016
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address


      1000 S. MacCaslin Blvd.
     ________________________________________________________

      Louisville, CO 80027
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                  Describe the lien
    Last 4 digits of account
    number                   _________________                     Equipment Lien
                                                                   __________________________________________________


    Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
    same property?                                                 
                                                                   ✔   No
    
    ✔ No                                                              Yes

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                    4 of ___
                                                                                                                                                                          6
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  Debtor            _______________________________________________________ Pg 15 of 77   Case number (if known)_____________________________________
                    Name



                                                                                                                                   Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  9 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Machinery Finance Resourses LLC
                                                                  UCC- 1 Filed 5/2/2018 and 10/3/2018
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address

     aka Bank of the West
     ________________________________________________________

     651 Day Hill Road, Windsor, CT 06095
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________           Describe the lien
    Last 4 digits of account                                       Equipment Lien
                                                                   __________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this              Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


2.__
  10 Creditor’s name                                              Describe debtor’s property that is subject to a lien
      Toyota Industries Commercial Finance Inc.
                                                                  UCC-1 filed 5/3/2017
     __________________________________________                                                                                     Unknown
                                                                                                                                   $__________________     $_________________
     Creditor’s mailing address


      PO Box 35701
     ________________________________________________________

      Billings, MT 59107
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                  Describe the lien
    Last 4 digits of account
    number                   _________________                     Equipment Lien
                                                                   __________________________________________________


    Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
    same property?                                                 
                                                                   ✔   No
    
    ✔ No                                                              Yes

     Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                           
                                                                   ✔   No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                    5 of ___
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Debtor
               J.P.R. Mechanical Inc.
               _______________________________________________________                                                    19-23480
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      6 of ___
                                                                                                                                                           6
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   Fill in this information to identify the case:                Pg 17 of 77

   Debtor
                    J.P.R. Mechanical Inc.
                    __________________________________________________________________

                                           Southern District of New York
   United States Bankruptcy Court for the: ________________________________

   Case number       19-23480
                     ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Dime Bank                                                                                                                       $_________________
                                                            Check all that apply.
    300                                                        Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                      No
                                                            ✔   Yes
    Specify Code subsection of PRIORITY unsecured
                                4
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Signature Bank                                          As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                    $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Wages, Salaries, Commissions
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured           ✔
                                                                 Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                4
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________   $_________________
                                                            Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               41
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  Debtor        _______________________________________________________       Case number (if known)_____________________________________
                Name                                            Pg 18 of 77
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    A&I Bronx Realty                                                                                                         4,712.22
                                                                                                                           $________________________________
                                                                              Contingent
    41 Maujer Street                                                          Unliquidated
                                                                              Disputed
    Brooklyn, NY, 11206
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Accord Pipe Fabricators Inc.                                           Check all that apply.                             221,855.68
                                                                                                                           $________________________________
    c/o Tesser & Cohen                                                        Contingent
    945 Main Street                                                           Unliquidated
    Hackensack, NJ, 07601                                                     Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Accurate Specialty Metals FAB                                                                                            11,000.00
                                                                                                                           $________________________________
                                                                              Contingent
    47-40 Metropolitain Avenue                                                Unliquidated
                                                                              Disputed
     Ridgewood, NY, 11385
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Action Paper Co., Inc.                                                 Check all that apply.
                                                                                                                             32,722.15
                                                                                                                           $________________________________
    PO Box 210                                                                Contingent
                                                                              Unliquidated
    Bronx, NY, 10456                                                          Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Ade Systems Inc.                                                                                                         1,096,791.25
                                                                                                                           $________________________________
                                                                           Check all that apply.
    150 Albany Avenue                                                         Contingent
                                                                              Unliquidated
    Freeport, NY, 11520                                                       Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Air Distribution Ent., Inc.                                                                                              1,135.00
                                                                                                                           $________________________________
                                                                           Check all that apply.
    19 Wilbur Street                                                          Contingent
                                                                              Unliquidated
     Lynbrook, NY, 11563                                                      Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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                                                                                                                           Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             120,449.00
                                                                                                                        $________________________________
 Airpath Testing Services, Inc.                                            Contingent
 40 Oser Avenue, Ste 8                                                     Unliquidated
                                                                           Disputed
 Hauppauge, NY, 11788
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          91,150.00
                                                                                                                        $________________________________
 ALBERT WEISS AlR COND.PROD INC
 270 MADISON AVENUE STE 1805                                               Contingent
                                                                           Unliquidated
 New York, NY, 10016                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 ALBIREO ENERGY                                                         Check all that apply.
                                                                                                                         102,025.66
                                                                                                                        $________________________________
 PO BOX69049                                                               Contingent
                                                                           Unliquidated
 BALTIMORE, MD, 21264-9049                                                 Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         93,314.77
                                                                                                                        $________________________________
 ALL CITY TESTING & BAL CORP.                                           Check all that apply.
 2876 MILBURN AVENUE                                                       Contingent
                                                                           Unliquidated
 Baldwin, NY, 11510                                                        Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 ALLFASTENERS USA LLC                                                   Check all that apply.
                                                                                                                          12,485.76
                                                                                                                        $________________________________
 PO BOX 933167                                                             Contingent
                                                                           Unliquidated
 CLEVELAND, OH, 44193                                                      Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             56,924.25
                                                                                                                        $________________________________
 Analytical & Combustion Systems                                           Contingent
 5 Old Town Park Road                                                      Unliquidated
 Unit 93 South End Plaza                                                   Disputed
 New Milford, CT, 6776
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          8,775.00
                                                                                                                        $________________________________
 ANIXTER, INC
 PO BOX 847428                                                             Contingent
                                                                           Unliquidated
 DALLAS, TX, 75284                                                         Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 ANVIL MECHANICAL INC.                                                  Check all that apply.
                                                                                                                         852,518.14
                                                                                                                        $________________________________
 535 SOUTH COLUMBUS AVE                                                    Contingent
                                                                           Unliquidated
 MT. VERNON, NY, 10550                                                  
                                                                        ✔
                                                                            Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         1,381.62
                                                                                                                        $________________________________
 ARESCO INC                                                             Check all that apply.
 304 W. JOHN STREET                                                        Contingent
                                                                           Unliquidated
 HICKSVILLE, NY, 11801                                                     Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 ARLAN DAMPER CORPORATION                                               Check all that apply.
                                                                                                                          20,049.50
                                                                                                                        $________________________________
 1598 LAKELAND AVENUE                                                      Contingent
                                                                           Unliquidated
 BOHEMIA, NY, 11716                                                        Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             2,300.00
                                                                                                                        $________________________________
 ASSOCIATED WATER CONDITIONERS                                             Contingent
 23 GREEN LANE                                                             Unliquidated
                                                                           Disputed
 SUCCASUNNA, NJ, 7876
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          377,954.56
                                                                                                                        $________________________________
 ATLANTIC COOLING TECH&SERV LLC
 80 KERO ROAD                                                              Contingent
                                                                           Unliquidated
 CARLSTADT, NJ, 7072                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 AUTOMATED LOGIC CONTRACTING                                            Check all that apply.
                                                                                                                         263,396.44
                                                                                                                        $________________________________
 P.O. BOX 403257                                                           Contingent
                                                                           Unliquidated
 ATLANTA, GA, 30384                                                        Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         296.54
                                                                                                                        $________________________________
 AWISCO NEW YORK CORP                                                   Check all that apply.
 55-15 43RD STREET                                                         Contingent
                                                                           Unliquidated
 MASPETH, NY, 11378                                                        Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 AXIS PIPING                                                            Check all that apply.
                                                                                                                          323,492.32
                                                                                                                        $________________________________
 4151 BOSTON ROAD                                                          Contingent
                                                                           Unliquidated
 BRONX, NY, 10466                                                          Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             381.06
                                                                                                                        $________________________________
 BABCOINCORPORATED                                                         Contingent
 60-10 MAURICE AVENUE                                                      Unliquidated
                                                                           Disputed
 MASPETH, NY, 11378
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          2,002.20
                                                                                                                        $________________________________
 BACO ENTERPRISES INC.
 1190 LONGWOOD AVE                                                         Contingent
                                                                           Unliquidated
 BRONX, NY, 10474                                                          Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 BANNER SALES CO., INC.                                                 Check all that apply.
                                                                                                                         6,615.14
                                                                                                                        $________________________________
 PO BOX 1453                                                               Contingent
                                                                           Unliquidated
 COVINGTON, LA, 70434                                                      Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         2,412.41
                                                                                                                        $________________________________
 BENFIELD ELECTRIC SUPPLY CORP                                          Check all that apply.
 25 LAFAYETTE AVENUE                                                       Contingent
                                                                           Unliquidated
 WHITE PLAINS, NY, 10603                                                   Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 BENTLEY SYSTEMS, INC.                                                  Check all that apply.
                                                                                                                          114.01
                                                                                                                        $________________________________
 685 STOCKTON DRIVE                                                        Contingent
                                                                           Unliquidated
 EXTON, PA, 19341                                                          Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             816.56
                                                                                                                        $________________________________
 BEST MONITORING LTD                                                       Contingent
 PO BOX 740451                                                             Unliquidated
                                                                           Disputed
 BRONX, NY, 10474
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          22,296.00
                                                                                                                        $________________________________
 BIMCORP INC
 321 WYTHE AVENUE UNIT# 1406                                               Contingent
                                                                           Unliquidated
 BROOKLYN, NY, 11249                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Bronx Welding Supply Co., Inc.                                         Check all that apply.
                                                                                                                         2,347.46
                                                                                                                        $________________________________
 94 Marine Street                                                          Contingent
                                                                           Unliquidated
 Farmingdale, NY, 11735                                                    Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         107,317.02
                                                                                                                        $________________________________
 BRUCE SUPPLY CORPORATION                                               Check all that apply.
 8805 18TH AVENUE                                                          Contingent
                                                                           Unliquidated
 BROOKLYN, NY, 11214                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 C & E ENGINEERING, LLC                                                 Check all that apply.
                                                                                                                          4,645.00
                                                                                                                        $________________________________
 94 THOMPSON STREET                                                        Contingent
                                                                           Unliquidated
 DUMONT, NJ, 7628                                                          Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  32
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             12,874.88
                                                                                                                        $________________________________
 CABLE PLUS                                                                Contingent
 2012 CORPORATE LANE                                                       Unliquidated
 SUITE 116                                                                 Disputed
 NAPERVILLE, IL, 60563
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          16,248.24
                                                                                                                        $________________________________
 CAPITAL HARDWARE/ELGEN MFG.
 P.O. BOX 62962                                                            Contingent
                                                                           Unliquidated
 BALTIMORE, MD, 21264-2962                                                 Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CARDMEMBER SERVICE                                                     Check all that apply.
                                                                                                                         11,690.02
                                                                                                                        $________________________________
 PO BOX 790408                                                             Contingent
                                                                           Unliquidated
 ST. LOUIS, MO, 63179-0408                                                 Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         4,414.21
                                                                                                                        $________________________________
 CARRIER NORTHEAST                                                      Check all that apply.
 P.O. BOX 33133                                                            Contingent
                                                                           Unliquidated
 NEWARK, NJ, 07188-0133                                                    Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CARTER, MILCHMAN&FRANK INC.                                            Check all that apply.
                                                                                                                          17,687.27
                                                                                                                        $________________________________
 28-10 37TH AVENUE                                                         Contingent
                                                                           Unliquidated
 LONG ISLAND CITY, NY, 11101                                               Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  37
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             6,041.15
                                                                                                                        $________________________________
 CASSONE LEASING, INC.                                                     Contingent
 19SO LAKELAND AVE.                                                        Unliquidated
                                                                           Disputed
 RONKONKOMA, NY, 11779
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          1,959.76
                                                                                                                        $________________________________
 CENTURY WASTE SERVICES LLC
 P.O. BOX 1109                                                             Contingent
                                                                           Unliquidated
 ELIZABETH, NJ, 07201-1109                                                 Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CERCO PRODUCTS INC                                                     Check all that apply.
                                                                                                                         11,346.67
                                                                                                                        $________________________________
 127 DALE STREET                                                           Contingent
                                                                           Unliquidated
 WEST BABYLON, NY, 11704                                                   Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         38,960.36
                                                                                                                        $________________________________
 CHASE-VISA                                                             Check all that apply.
 CARDMEMBER SERVICES                                                       Contingent
 P.O. BOX 1423                                                             Unliquidated
 CHARLOTTE, NC, 28201-1423                                                 Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CHEMWORKS FILTRATION INC                                               Check all that apply.
                                                                                                                          13,508.50
                                                                                                                        $________________________________
 31 GEORGE STREET                                                          Contingent
                                                                           Unliquidated
 NEWTON, MA, 2458                                                          Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             315.00
                                                                                                                        $________________________________
 CITY OF NY FIRE DEPARTMENT                                                Contingent
 P.O. BOX 412014                                                           Unliquidated
                                                                           Disputed
 BOSTON, MA, 02241-2014
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          35,346.00
                                                                                                                        $________________________________
 CLARITY WATER TECHNOLOGIES
 404 EAST ROUTE 59                                                         Contingent
                                                                           Unliquidated
 NANUET, NY, 10954                                                         Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CLIMATEC LLC 0/B/A SKYLINE AUT                                         Check all that apply.
                                                                                                                         739,782.03
                                                                                                                        $________________________________
 300 BROAOACRES DRIVE                                                      Contingent
 SUITE 400                                                                 Unliquidated
 BLOOMFIELD, NJ, 7003                                                      Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                        $________________________________
 COLONIAL AMERICAN CASUALTY AND                                         Check all that apply.
 SURETY COMPANY                                                            Contingent
 1299 ZURICH WAY                                                           Unliquidated
                                                                           Disputed
 SHAUMBURG, IL, 60196-1056
                                                                        Basis for the claim: Credit Card Debt



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 COLONIAL TOOLS & EQUIPMENT                                             Check all that apply.
                                                                                                                          209,649.76
                                                                                                                        $________________________________
 33 COMMERCE STREET                                                        Contingent
                                                                           Unliquidated
 SPRINGFIELD, NJ, 7081                                                     Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             63,920.34
                                                                                                                        $________________________________
 COLONY HARDWARE CORPORATION                                               Contingent
 PO BOX 21216                                                              Unliquidated
                                                                           Disputed
 NEW YORK, NY, 10087
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          357.17
                                                                                                                        $________________________________
 COMMERCIAL CAPITAL CO., LLC
 8215 MELROSE DRIVE SUITE 100                                              Contingent
                                                                           Unliquidated
 LENEXA, KS, 66214-1617                                                    Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CONEDISON                                                              Check all that apply.
                                                                                                                         3,719.91
                                                                                                                        $________________________________
 JAFSTATION                                                                Contingent
 P.O. BOX 1701                                                             Unliquidated
 NEW YORK, NY, 10116-1701                                                  Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         2,892.34
                                                                                                                        $________________________________
 CONEDISON                                                              Check all that apply.
 JAF STATION                                                               Contingent
 P.O. BOX 1702                                                             Unliquidated
 NEW YORK, NY, 10116                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 CONTROL ASSOCIATES INC                                                 Check all that apply.
                                                                                                                          2,505.69
                                                                                                                        $________________________________
 PO BOX 827025                                                             Contingent
                                                                           Unliquidated
 PHILADELPHIA, PA, 19182-7025                                              Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             24,638.75
                                                                                                                        $________________________________
 CONTROL SOLUTIONS GROUP                                                   Contingent
 122 WEST 27TH STREET, 5TH FLOOR                                           Unliquidated
                                                                           Disputed
 NEW YORK, NY, 10001
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          3,157.38
                                                                                                                        $________________________________
 CORE TECH ASSOCIATES CORP.
 45-38 162ND STREET                                                        Contingent
                                                                           Unliquidated
 FLUSHING, NY, 11358                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 DAIKIN APPUED                                                          Check all that apply.
                                                                                                                         51,494.73
                                                                                                                        $________________________________
 13600 INDUSTRIAL PARK BLVD                                                Contingent
 ATTN: JEFFREY TACK                                                        Unliquidated
 MINNEAPOLIS, MN, 55441                                                    Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         394,027.09
                                                                                                                        $________________________________
 DELTA CONNECT INC                                                      Check all that apply.
 DEP                                                                       Contingent
 10 CENTRE DRIVE                                                           Unliquidated
                                                                           Disputed
 MONROE, NJ, 8831
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 DISTRIBUTION INTERNATIONAL                                             Check all that apply.
                                                                                                                          176,523.68
                                                                                                                        $________________________________
 CREDIT REPRESENTATIVE                                                     Contingent
 10942 BEAVER DAM ROAD                                                     Unliquidated
 HUNT VALLEY, MD, 21030                                                    Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             99,802.14
                                                                                                                        $________________________________
 DOLPHIN EQUIPMENT CORP.                                                   Contingent
 629 5TH AVENUE #113                                                       Unliquidated
                                                                           Disputed
 PELHAM, NY, 10803-3710
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          112,398.20
                                                                                                                        $________________________________
 E-J Electric Installation Co.
 46-41 Vernon Blvd.                                                        Contingent
 Long Island City, NY, 11101                                               Unliquidated
                                                                           Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 EAST PARK EXTERMINATING                                                Check all that apply.
                                                                                                                         631.49
                                                                                                                        $________________________________
 P.O. BOX629                                                               Contingent
                                                                           Unliquidated
 BRONX, NY, 10462-9820                                                     Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         4,137.25
                                                                                                                        $________________________________
 EASTERN CUTTING CORP.                                                  Check all that apply.
 2281 LIGHT STREET                                                         Contingent
                                                                           Unliquidated
 BRONX, NY, 10466                                                          Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 EASTERN TESTING & INSPECTION,                                          Check all that apply.
                                                                                                                          3,330.00
                                                                                                                        $________________________________
 43 HERKOMER STREET                                                        Contingent
                                                                           Unliquidated
 NEW HYDE PARK, NY, 11040                                                  Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             121,203.00
                                                                                                                        $________________________________
 ECOLINE INC.                                                              Contingent
 41-14 24TH STREET                                                         Unliquidated
                                                                           Disputed
 LONG ISLAND CITY, NY, 11101
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          12,900.00
                                                                                                                        $________________________________
 ELITE CONTROL CONTRACTING INC.
 311SOUTH6THAVENUE                                                         Contingent
                                                                           Unliquidated
 MOUNT VERNON, NY, 10550                                                   Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 EMPIRE PUMP & MOTOR                                                    Check all that apply.
                                                                                                                         310.29
                                                                                                                        $________________________________
 150 WEST 26 STREET                                                        Contingent
                                                                           Unliquidated
 NEW YORK, NY, 10801                                                       Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         49,295.88
                                                                                                                        $________________________________
 ERLIN STEEL OF LONG ISLAND INC                                         Check all that apply.
 857 N. RICHMOND AVENUE                                                    Contingent
                                                                           Unliquidated
 LINDENHURST, NY, 11757                                                    Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 FDNY                                                                   Check all that apply.
                                                                                                                          1,365.00
                                                                                                                        $________________________________
 9 MetroTech Center                                                        Contingent
 3rd Floor CDA Unit                                                        Unliquidated
 Brooklyn, NY, 11201                                                       Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             5,294.86
                                                                                                                        $________________________________
 FERGUSON ENTERPRISES                                                      Contingent
 P.O. BOX 417592                                                           Unliquidated
                                                                           Disputed
 BOSTON, MA, 02241-7592
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          0.00
                                                                                                                        $________________________________
 FIDELITY AND DEPOSIT COMPANY OF
 MARYLAND                                                                  Contingent
 1299 ZURICH WAY                                                           Unliquidated
                                                                           Disputed
 SHAUMBURG, IL, 60196-1056
                                                                        Basis for the claim: Credit Card Debt



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 FIDELITY AND DEPOSIT COMPANY OF                                        Check all that apply.
                                                                                                                         0.00
                                                                                                                        $________________________________
 MARYLAND                                                                  Contingent
 600 RED BROOK BLVD.                                                       Unliquidated
 SUITE 600                                                                 Disputed
 OWINGS MILLS, MD, 21117
                                                                        Basis for the claim: Credit Card Debt



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         1,986.45
                                                                                                                        $________________________________
 FIRST ACCESS EQUIPMENT                                                 Check all that apply.
 24 D COMMERCE ROAD                                                        Contingent
                                                                           Unliquidated
 FAIRFIELD, NJ, 70004                                                      Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 FIVE STAR ELECTRICAL CORP                                              Check all that apply.
                                                                                                                          155,311.06
                                                                                                                        $________________________________
 29-76 NORTHERN BLVD                                                       Contingent
                                                                           Unliquidated
 LONG ISLAND CITY, NY, 11101                                               Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             99,650.78
                                                                                                                        $________________________________
 G.A. FLEET ASSOCIATES, INC.                                               Contingent
 6 INTERNATIONAL DRIVE, SUITE 210                                          Unliquidated
                                                                           Disputed
 RYE BROOK, NY, 10573
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          6,636.58
                                                                                                                        $________________________________
 GENERAL INSULATION COMPANY
 P.O. BOX 636959                                                           Contingent
                                                                           Unliquidated
 CINCINNATI, OH, 45263                                                     Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 GILBAR INDUSTRIES INC.                                                 Check all that apply.
                                                                                                                         900,549.95
                                                                                                                        $________________________________
 5 WEST 19TH STREET                                                        Contingent
                                                                           Unliquidated
 NEW YORK, NY, 10011                                                       Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                        $________________________________
 GOTHAM PIPE SUPPLY, LLC                                                Check all that apply.
 18-19 FLUSHING AVENUE                                                     Contingent
                                                                           Unliquidated
 RIDGEWOOD, NY, 11385                                                      Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 GOTHAM REFINING CHEMICAL CORP.                                         Check all that apply.
                                                                                                                          30,993.37
                                                                                                                        $________________________________
 23-74 48TH STREET                                                         Contingent
                                                                           Unliquidated
 ASTORIA, NY, 11103                                                        Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             17,697.97
                                                                                                                        $________________________________
 GRAINGER                                                                  Contingent
 DEPT.839043833                                                            Unliquidated
                                                                           Disputed
 PALATINE, IL, 60038-0001
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          1,600.00
                                                                                                                        $________________________________
 GROUND PENETRATING RADAR SYS
 5217 MONROE STREET                                                        Contingent
                                                                           Unliquidated
 TOLEDO, OH, 43623                                                         Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 H. WEISS MACHINERY & SUPPLY                                            Check all that apply.
                                                                                                                         1,941.95
                                                                                                                        $________________________________
 345 DETROIT AVENUE                                                        Contingent
                                                                           Unliquidated
 STATEN ISUND, NY, 10312                                                   Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         470,114.15
                                                                                                                        $________________________________
 HAILEY INSUUTION CORP                                                  Check all that apply.
 815 ROUTE 25A                                                             Contingent
                                                                           Unliquidated
 ROCKY POINT, NY, 11778                                                    Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 HARRISON PUBLISHING HOUSE INC                                          Check all that apply.
                                                                                                                          1,100.00
                                                                                                                        $________________________________
 POBOX 320-995 INDUSTRIAL PARK RD                                          Contingent
                                                                           Unliquidated
 LITTLETON, NH, 03561-0320                                                 Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             460,091.84
                                                                                                                        $________________________________
 HARRY BRAINUM JR. INC.                                                    Contingent
 360 MCGUINNESS BLVD                                                       Unliquidated
                                                                           Disputed
 BROOKLYN, NY, 11222
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          117,327.15
                                                                                                                        $________________________________
 HIGHWAY SAFETY PROTECTION CORP
 P.O. BOX677                                                               Contingent
                                                                           Unliquidated
 SYOSSET, NY, 11791                                                        Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 HILO EQUIPMENT & SERVICES                                              Check all that apply.
                                                                                                                         1,394.57
                                                                                                                        $________________________________
 1283 College Park Drive                                                   Contingent
                                                                           Unliquidated
 Dover, DE, 19904                                                          Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         153,275.26
                                                                                                                        $________________________________
 HORIZON CONTRACING INC.                                                Check all that apply.
 96 UKEVILLE ROAD                                                          Contingent
                                                                           Unliquidated
 NEW HYDE PARK, NY, 11040                                                  Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 HTS NEW YORK                                                           Check all that apply.
                                                                                                                          31,649.97
                                                                                                                        $________________________________
 ONE PENN PUZA, STE 2828                                                   Contingent
                                                                           Unliquidated
 NEW YORK, NY, 10119                                                       Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             591,409.37
                                                                                                                        $________________________________
 I & I SYSTEMS INC.                                                        Contingent
 66 TABLE ROCK ROAD                                                        Unliquidated
                                                                           Disputed
 TUXEDO, NY, 10987
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          119,689.25
                                                                                                                        $________________________________
 IMPERIAL DAMPER & LOUVER LLC
 907-911 EAST 141ST STREET                                                 Contingent
 PO BOX 541573                                                             Unliquidated
 BRONX, NY, 10454                                                          Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 Independent Testing& Balancing                                         Check all that apply.
                                                                                                                         28,805.04
                                                                                                                        $________________________________
 254 N Main St                                                             Contingent
                                                                           Unliquidated
 New City, NY, 10956                                                       Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         38,371.50
                                                                                                                        $________________________________
 INDUSTRIAL CONTROLS DIST.                                              Check all that apply.
 DEPARTMENT 116241                                                         Contingent
 P.O. BOX 5211                                                             Unliquidated
 BINGHAMTON, NY, 13902-5211                                                Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 INDUSTRIAL THREADED PRODUCTS                                           Check all that apply.
                                                                                                                          307,578.28
                                                                                                                        $________________________________
 777 MOUNT AVENUE                                                          Contingent
                                                                           Unliquidated
 WYANDANCH, NY, 11798                                                      Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             1,653,535.00
                                                                                                                        $________________________________
 INTERNATIONAL ASBESTOS REMOVAL                                            Contingent
 119 COOPER STREET                                                         Unliquidated
                                                                           Disputed
 BABYLON, NY, 11702
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          2,508.70
                                                                                                                        $________________________________
 ISP FUEL SYSTEMS
 9 CHRIS COURT                                                             Contingent
 SUITE F                                                                   Unliquidated
 DAYTON, NJ, 8810                                                          Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 IT SERVICES LLC                                                        Check all that apply.
                                                                                                                         5,611.00
                                                                                                                        $________________________________
 1127 HIGH RIDGE ROAD, #199                                                Contingent
                                                                           Unliquidated
 STAMFORD, CT, 6905                                                        Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         226,608.13
                                                                                                                        $________________________________
 JANSONS ASSOCIATES INC                                                 Check all that apply.
 130 MOZART STREET                                                         Contingent
                                                                           Unliquidated
 EAST RUTHERFORD, NJ, 7073                                                 Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 JBC CHIMNEY INC.                                                       Check all that apply.
                                                                                                                          36,381.00
                                                                                                                        $________________________________
 15 DAELL UNE                                                              Contingent
                                                                           Unliquidated
 CENTER EACH, NY, 11720                                                    Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                             106,358.00
                                                                                                                        $________________________________
 JOHN N FEHLINGER CO.                                                      Contingent
 20 VESEY STREET                                                           Unliquidated
 10TH FLOOR                                                                Disputed
 NEW YORK, NY, 10007
                                                                        Basis for the claim:



                                                                        Is the claim subject to offset?
        Date or dates debt was incurred          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
        Last 4 digits of account number          ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                        Check all that apply.
                                                                                                                          83,126.07
                                                                                                                        $________________________________
 JOHNS INSULATION INC
 96 LAKEVILLE ROAD                                                         Contingent
                                                                           Unliquidated
 NEW HYDE PARK, NY, 11040                                                  Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          ___________________
                                                                        
                                                                        ✔
                                                                            No
                                                                           Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 JOHNSON CONTROLS INC                                                   Check all that apply.
                                                                                                                         116,221.65
                                                                                                                        $________________________________
 PO BOX 730068                                                             Contingent
                                                                           Unliquidated
 DALLAS, TX, 75373                                                         Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
        Last 4 digits of account number          __________________     
                                                                        ✔
                                                                            No
                                                                           Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         17.30
                                                                                                                        $________________________________
 JOHNSTONE SUPPLY-WOODSIDE                                              Check all that apply.
 27-01 BROOKLYN QUEENS EXP                                                 Contingent
                                                                           Unliquidated
 WOODSIDE, NY, 11377                                                       Disputed

                                                                        Basis for the claim:



        Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
 JPR MECHANCIAL SERVICES                                                Check all that apply.
                                                                                                                          745,220.59
                                                                                                                        $________________________________
 255 MAIN STREET                                                           Contingent
                                                                           Unliquidated
 NEW ROCHELLE, NY, 10801                                                   Disputed
                                                                        Basis for the claim:



        Date or dates debt was incurred          ____________________   Is the claim subject to offset?
                                                                        
                                                                        ✔
                                                                            No
        Last 4 digits of account number          ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             18,910.92
                                                                                                                       $________________________________
 KEY EQUIPMENT FINANCE                                                    Contingent
 P.O. BOX 974713                                                          Unliquidated
                                                                          Disputed
 CLEVELAND, OH, 44194
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         681.75
                                                                                                                       $________________________________
 KG POWER SYSTEMS
 150 LASER COURT                                                          Contingent
                                                                          Unliquidated
 HAUPPAUGE, NY, 11788                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 KLIMA NEW YORK LLC                                                    Check all that apply.
                                                                                                                        29,502.77
                                                                                                                       $________________________________
 425 MCFARLAN RD., STE 209                                                Contingent
                                                                          Unliquidated
 KENNETT SQUARE, PA, 19348                                                Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        48,426.50
                                                                                                                       $________________________________
 L. WINIK & ASSOCIATES INC.                                            Check all that apply.
 109 WHITE OAK LANE SUITE 61                                              Contingent
                                                                          Unliquidated
 OLD BRIDGE, NJ, 8857                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Libertas Funding LLC                                                  Check all that apply.
                                                                                                                         Unknown
                                                                                                                       $________________________________
 382 Greenwich Ave., Suite 2                                              Contingent
 Taftville, CT, 06380                                                  
                                                                       ✔
                                                                           Unliquidated
                                                                          Disputed
                                                                       Basis for the claim: Loan/ Sale of Future Receivables



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             2,795.50
                                                                                                                       $________________________________
 LOCAL 282 ANNUITY TRUST FUND                                             Contingent
 2500 MARCUS AVENUE                                                       Unliquidated
                                                                          Disputed
 LAKE SUCCESS, NY, 11042
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         36.25
                                                                                                                       $________________________________
 LOCAL 282 JOB TRAINING TRUST
 2500 MARCUS AVENUE                                                       Contingent
                                                                          Unliquidated
 LAKE SUCCESS, NY, 11042                                                  Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 LOCAL 282 PENSION TRUST FUND                                          Check all that apply.
                                                                                                                        4,597.08
                                                                                                                       $________________________________
 2500 MARCUS AVENUE                                                       Contingent
                                                                          Unliquidated
 LAKE SUCCESS, NY, 11042                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        9,480.00
                                                                                                                       $________________________________
 LOCAL 282 WELFARE TRUST FUND                                          Check all that apply.
 2500 MARCUS AVENUE                                                       Contingent
                                                                          Unliquidated
 LAKE SUCCESS, NY, 11042                                                  Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 LUCE, SCHWAB & KASE, INC.                                             Check all that apply.
                                                                                                                         66,254.96
                                                                                                                       $________________________________
 BOX779                                                                   Contingent
 9 GLORIA LANE                                                            Unliquidated
 FAIRFIELD, NJ, 07007-0779                                                Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             5,084.08
                                                                                                                       $________________________________
 MARKING SERVICES INC.                                                    Contingent
 8265 N FAULKNER ROAD                                                     Unliquidated
                                                                          Disputed
 MILWAUKEE, WI, 53224
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         6,620.00
                                                                                                                       $________________________________
 Mason Industries
 350 Rabro Drive                                                          Contingent
 Hauppauge, NY, 11788                                                     Unliquidated
                                                                          Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  114
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 MAYER MALBIN CO INC                                                   Check all that apply.
                                                                                                                        607,377.67
                                                                                                                       $________________________________
 41-0136TH AVE                                                            Contingent
                                                                          Unliquidated
 LONG ISLAND CITY, NY, 11101                                              Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        85,969.78
                                                                                                                       $________________________________
 MCKINNEY WELDING SUPPLY CO INC                                        Check all that apply.
 1145 BRONX RIVER AVENUE                                                  Contingent
                                                                          Unliquidated
 BRONX, NY, 10472-3101                                                    Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 McNICHOLSCO.                                                          Check all that apply.
                                                                                                                         0.00
                                                                                                                       $________________________________
 PO BOX 101211                                                            Contingent
                                                                          Unliquidated
 ATLANTA, GA, 30392-1211                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             286,745.75
                                                                                                                       $________________________________
 MECHANICAL TECHNOLOGIES                                                  Contingent
 10 BLOOMFIELD AVE SUITE 6                                                Unliquidated
                                                                          Disputed
 PINE BROOK, NJ, 7058
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         165.00
                                                                                                                       $________________________________
 MEDCOR, INC.
 PO BOX 75570                                                             Contingent
                                                                          Unliquidated
 CLEVELAND, OH, 44101-4755                                                Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  119
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 METRO AIR PRODUCTS                                                    Check all that apply.
                                                                                                                        28,450.00
                                                                                                                       $________________________________
 20 WEST 36TH STREET                                                      Contingent
 SUITE 700                                                                Unliquidated
 NEW YORK, NY, 10018                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        308,826.60
                                                                                                                       $________________________________
 METRO FAB INC.                                                        Check all that apply.
 15 FAIRCHILD COURT                                                       Contingent
                                                                          Unliquidated
 PLAINVIEW, NY, 11803                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 METROVALVE & ACTUATION                                                Check all that apply.
                                                                                                                         123,602.60
                                                                                                                       $________________________________
 241-02 NORTHERN BLVD. SUITE 203                                          Contingent
                                                                          Unliquidated
 DOUGLASTON, NY, 11362                                                    Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  122
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             1,492.87
                                                                                                                       $________________________________
 MICROSOL RESOURCES                                                       Contingent
                                                                          Unliquidated
 214 WEST 29TH ST, SUITE 1100                                             Disputed

 NEW YORK, NY, 10001                                                   Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         61,762.85
                                                                                                                       $________________________________
 MIDLAND STEEL WHSE. CORP.
 1120 LEGGETT AVE                                                         Contingent
                                                                          Unliquidated
 BRONX, NY, 10474                                                         Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  124
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 MILLER PROCTOR NICKOLAS INC.                                          Check all that apply.
                                                                                                                        60,564.25
                                                                                                                       $________________________________
 2 HUDSON STREET                                                          Contingent
                                                                          Unliquidated
 SLEEPY HALLOW, NY, 10591                                                 Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        13,503.02
                                                                                                                       $________________________________
 MJD COMBUSTION SALES                                                  Check all that apply.
 514 MEACHAN AVENUE                                                       Contingent
                                                                          Unliquidated
 ELMONT, NY, 11003                                                        Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 MSA SAFETY SALES, LLC                                                 Check all that apply.
                                                                                                                         445.69
                                                                                                                       $________________________________
 734143 NETWORK PLACE                                                     Contingent
                                                                          Unliquidated
 CHICAGO, IL, 60673                                                       Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             184,029.33
                                                                                                                       $________________________________
 MV CONTROLS INC.                                                         Contingent
 111 CANFIELD AVE SUITE A-13                                              Unliquidated
                                                                          Disputed
 RANDOLPH, NJ, 07869-3007
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         637,503.88
                                                                                                                       $________________________________
 MWSK EQUIPMENT CORP.
 350 SEVENTH AVENUE                                                       Contingent
                                                                          Unliquidated
 NEW YORK, NY, 10001                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  129
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 NALCO COMPANY LLC                                                     Check all that apply.
                                                                                                                        47,737.65
                                                                                                                       $________________________________
 PO BOX 70716                                                             Contingent
                                                                          Unliquidated
 CHICAGO, IL, 60673-0716                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        21,889.16
                                                                                                                       $________________________________
 NAPCO COPY GRAPHICS CNTR OF NY                                        Check all that apply.
 PO BOX234                                                                Contingent
                                                                          Unliquidated
 LYNDHURST, NJ, 7071                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 NATIONAL AIR FILTER SVC INC.                                          Check all that apply.
                                                                                                                         6,744.39
                                                                                                                       $________________________________
 74 SAND PARK ROAD                                                        Contingent
                                                                          Unliquidated
 CEDAR GROVE, NJ, 7009                                                    Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             9,924.68
                                                                                                                       $________________________________
 NEFCO                                                                    Contingent
 P.O. BOX 1701                                                            Unliquidated
                                                                          Disputed
 BRIDGEPORT, CT, 06601-1701
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         155,269.67
                                                                                                                       $________________________________
 NY Plumbing & Wholesale Supply
 933 COLUMBUS AVENUE                                                      Contingent
                                                                          Unliquidated
 NEW YORK, NY, 10025                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  134
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 NYS Department of Tax                                                 Check all that apply.
                                                                                                                        447.30
                                                                                                                       $________________________________
 Office of Counsel building 9                                             Contingent
 W A Harriman Campus                                                      Unliquidated
 Albany, NY, 12227                                                        Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        39,295.02
                                                                                                                       $________________________________
 O.T. DELIVERY SYSEMS INC.                                             Check all that apply.
 18 FORD PRODUCTS RD                                                      Contingent
                                                                          Unliquidated
 VALLEY COTTAGE, NY, 10989                                                Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 ORIFLOW                                                               Check all that apply.
                                                                                                                         5,040.00
                                                                                                                       $________________________________
 2125 RANGE ROAD UNIT B                                                   Contingent
                                                                          Unliquidated
 CLEARWATER, FL, 33765                                                    Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             0.00
                                                                                                                       $________________________________
 POTENZA ELECTRICAL CORPORATION                                           Contingent
 123 BAYVIEW AVENUE                                                       Unliquidated
                                                                          Disputed
 AMITYVILLE, NY, 11701
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         3,779.81
                                                                                                                       $________________________________
 POWER PAK CIVIL & SAFETY
 2Z5 N. ROUTE 303, UNIT 108                                               Contingent
                                                                          Unliquidated
 CONGERS, NY, 10920                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  139
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 PREMIER INSULATION SERVICES                                           Check all that apply.
                                                                                                                        334,200.00
                                                                                                                       $________________________________
 5929 55th Street                                                         Contingent
                                                                          Unliquidated
 Flushing, 11378                                                          Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        483.00
                                                                                                                       $________________________________
 PURITY LABORATORIES INC                                               Check all that apply.
 1 Maple Avenue                                                           Contingent
 unit #5                                                                  Unliquidated
 EAST RUTHERFORD, NJ, 7073                                                Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Quad City Safety, Inc.                                                Check all that apply.
                                                                                                                         6,358.16
                                                                                                                       $________________________________
 5311 Tremont Avenue                                                      Contingent
                                                                          Unliquidated
 Davenport, IA, 52807                                                     Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             Unknown
                                                                                                                       $________________________________
 Radium 2 SPV#1 LLC                                                       Contingent
 300 RXR Plaza                                                         
                                                                       ✔   Unliquidated
 Uniondale, NY, 11556                                                     Disputed

                                                                       Basis for the claim: Loan/ Sale of Future Receivables



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         Unknown
                                                                                                                       $________________________________
 Radium2 Capital LLC
 300 RXR Plaza                                                            Contingent
 Uniondale, NY, 11556                                                  
                                                                       ✔
                                                                           Unliquidated
                                                                          Disputed

                                                                       Basis for the claim: Loan/ Sale of Future Receivables



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  144
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 RITEWAY INDUSTRIES CORP.                                              Check all that apply.
                                                                                                                        2,994.06
                                                                                                                       $________________________________
 900 Merchants Concourse                                                  Contingent
                                                                          Unliquidated
 Westbury, NY, 11590                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        2,312.50
                                                                                                                       $________________________________
 ROHAN FRANCIS                                                         Check all that apply.
 24 Claremont Avenue                                                      Contingent
                                                                          Unliquidated
 MT. VERNON, NY, 10550                                                    Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 S.W. ANDERSON SALES                                                   Check all that apply.
                                                                                                                         280,289.26
                                                                                                                       $________________________________
 63 DANIEL STREET                                                         Contingent
                                                                          Unliquidated
 FARMINGDALE, NY, 11765                                                   Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             4,546.95
                                                                                                                       $________________________________
 SAGE CRE FORMS                                                           Contingent
 PO Box 230578                                                            Unliquidated
                                                                          Disputed
 Portland, OR, 97281
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         0.00
                                                                                                                       $________________________________
 SCHNEIDER ELECTRIC
 210 Meadowlands Pkwy                                                     Contingent
 Suite D                                                                  Unliquidated
 Secaucus, NJ, 7094                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  149
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 SHEETMETAL INDUSTRY PROMOTION Fund                                    Check all that apply.
                                                                                                                        1,726,737.56
                                                                                                                       $________________________________
 of New York City                                                         Contingent
 16 Court Street                                                          Unliquidated
 Ste. 2100                                                                Disputed
 Brooklyn, NY, 11241
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,000.00
                                                                                                                       $________________________________
 Siemens Industry                                                      Check all that apply.
 8 Fernwood Road                                                          Contingent
                                                                          Unliquidated
 Florham Park, NJ, 7932                                                   Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 SKYLIFT CONTRACTOR CORPORATION                                        Check all that apply.
                                                                                                                         542,875.00
                                                                                                                       $________________________________
 58-95 MAURICE AVE, LOWER LEVEL                                           Contingent
                                                                          Unliquidated
 MASPETH, NY, 11378                                                       Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  152
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             47,594.00
                                                                                                                       $________________________________
 SMALLS ELECTRICAL CONSTRUCTION                                           Contingent
 63 FLUSHING AVNUE UNIT #338                                              Unliquidated
                                                                          Disputed
 BROOKLYN, NY, 11205
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         1,076,989.36
                                                                                                                       $________________________________
 SMWIA LOC. 28 FUNDS&PLANS
 195 MINEOLA BLVD                                                         Contingent
                                                                          Unliquidated
 MINEOLA, NY, 11501                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  154
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 SPX COOLING TECHNOLOGIES, INC.                                        Check all that apply.
                                                                                                                        421.63
                                                                                                                       $________________________________
 PO BOX 99038                                                             Contingent
                                                                          Unliquidated
 CHICAGO, IL, 60693                                                       Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,765,034.79
                                                                                                                       $________________________________
 SRS ENTERPRISES INC                                                   Check all that apply.
 14 LEONARDVILLE ROAD                                                     Contingent
                                                                          Unliquidated
 MIDDLETOWN, NJ, 7718                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 STRESS TECH, INC.                                                     Check all that apply.
                                                                                                                         1,500.00
                                                                                                                       $________________________________
 75-07 GLENMORE AVE.                                                      Contingent
                                                                          Unliquidated
 OZONE PARK, NY, 11417                                                    Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             700.00
                                                                                                                       $________________________________
 STRIKER SHEET METAL                                                      Contingent
 1 MAHAN STREET                                                           Unliquidated
                                                                          Disputed
 WEST BABYLON, NY, 11704
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         3,597.50
                                                                                                                       $________________________________
 Stultz Climate Control
 1572 Tilco Drive                                                         Contingent
                                                                          Unliquidated
 Frederick, MD, 21704                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  159
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 SUBCONTRACTORS TRADE ASSOC.                                           Check all that apply.
                                                                                                                        1,095.00
                                                                                                                       $________________________________
 1325 AVENUE OF THE AMERICAS                                              Contingent
 10TH FLOOR                                                               Unliquidated
 NEW YORK, NY, 10019                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        100,119.62
                                                                                                                       $________________________________
 SUNBELT RENTALS INC.                                                  Check all that apply.
 PO BOX 409211                                                            Contingent
                                                                          Unliquidated
 ATLANTA, GA, 30384                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 T&L FABRICATORS, INC                                                  Check all that apply.
                                                                                                                         29,413.61
                                                                                                                       $________________________________
 120 DOBBIN STREET                                                        Contingent
                                                                          Unliquidated
 BROOKLYN, NY, 11222                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             176,125.00
                                                                                                                       $________________________________
 T.M. Bier & Assoc. Inc.                                                  Contingent
 79 Hazel Street                                                          Unliquidated
 Glen Cove, NY, 11542                                                     Disputed

                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         30,350.00
                                                                                                                       $________________________________
 TECHNICAL AIR SYSTEMS INC.
 TEXTURA                                                                  Contingent
 P.O. BOX 104                                                             Unliquidated
                                                                          Disputed
 NEW VERNON, NJ, 7978
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  164
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 THE EAGLE LEASING COMPANY                                             Check all that apply.
                                                                                                                        29.06
                                                                                                                       $________________________________
 PO BOX 923                                                               Contingent
                                                                          Unliquidated
 ORANGE, CT, 064 77-0923                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        410,327.14
                                                                                                                       $________________________________
 THE IDEAL SUPPLY COMPANY                                              Check all that apply.
 445 Communipaw Avenue                                                    Contingent
                                                                          Unliquidated
 Jersey City, NJ, 7304                                                    Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 THE VMC GROUP                                                         Check all that apply.
                                                                                                                         21,513.27
                                                                                                                       $________________________________
 113 MAIN STREET                                                          Contingent
                                                                          Unliquidated
 BLOOMINGDALE, NJ, 7403                                                   Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  167
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             74.01
                                                                                                                       $________________________________
 TIFFANY LUMBER                                                           Contingent
 P.O. BOX 873                                                             Unliquidated
                                                                          Disputed
 SUFFERN, NY, 10901
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         23,546.26
                                                                                                                       $________________________________
 TOMARCO CONTRACTOR SPECIALTIES
 14848 NORTHAM STREET                                                     Contingent
                                                                          Unliquidated
 LA MIRADA, CA, 90638                                                     Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  169
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 TOWER ENTERPRISES                                                     Check all that apply.
                                                                                                                        17,032.45
                                                                                                                       $________________________________
 256 W. 36TH STREET 57TH FLOOR                                            Contingent
                                                                          Unliquidated
 NEW YORK, NY, 10018                                                      Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  170
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        30,106.38
                                                                                                                       $________________________________
 TOWER WATER                                                           Check all that apply.
 5 SHIRLEY AVENUE                                                         Contingent
                                                                          Unliquidated
 SOMERSET, NJ, 8873                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  171
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 TRANE U.S. INC.                                                       Check all that apply.
                                                                                                                         164,363.00
                                                                                                                       $________________________________
 P.O. BOX 406469                                                          Contingent
                                                                          Unliquidated
 ATLANTA, GA, 30384-6469                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  172
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             5,879.25
                                                                                                                       $________________________________
 TRIMBLE INC                                                              Contingent
 P.O. Box 203558                                                          Unliquidated
                                                                          Disputed
 Dallas, TX, 75320
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  173
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         154,624.00
                                                                                                                       $________________________________
 TRIPLES AIR SYSTEMS INC
 80 RAYNOR AVENUE                                                         Contingent
                                                                          Unliquidated
 RONKONKOMA, NY, 11779                                                    Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  174
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 TRISTAN CONTRACTING                                                   Check all that apply.
                                                                                                                        71,376.65
                                                                                                                       $________________________________
 21 EAST PULASKI ROAD                                                     Contingent
                                                                          Unliquidated
 HUNTINGTON STATION, NY, 11746                                            Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  175
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        5,206.33
                                                                                                                       $________________________________
 TURTLE & HUGHES                                                       Check all that apply.
 1900 LOWER ROAD                                                          Contingent
                                                                          Unliquidated
 LINDEN, NJ, 7036                                                         Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  176
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 TVT 2.0 LLC                                                           Check all that apply.
                                                                                                                         Unknown
                                                                                                                       $________________________________
 90 Broad Street, 16th Floor                                              Contingent
 New York, NJ, 10004                                                   
                                                                       ✔
                                                                           Unliquidated
                                                                          Disputed
                                                                       Basis for the claim: Loan/ Sale of Future Receivables



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  Debtor         _______________________________________________________     Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  177
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             1,774.76
                                                                                                                       $________________________________
 TWINCO SUPPLY CORPORATION                                                Contingent
 PO BOX 1170                                                              Unliquidated
                                                                          Disputed
 GARDEN CITY PARK, NY, 11040
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  178
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         110,150.00
                                                                                                                       $________________________________
 U2 RIGGING & HOISTING, INC.
 57 CENTRAL AVE.                                                          Contingent
                                                                          Unliquidated
 FARMINGDALE, NY, 11735                                                   Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  179
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 ULINE                                                                 Check all that apply.
                                                                                                                        371.67
                                                                                                                       $________________________________
 P.O. BOX 88741                                                           Contingent
                                                                          Unliquidated
 CHICAGO ILLINOIS, NY, 60680-1741                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  180
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        4,506.90
                                                                                                                       $________________________________
 UNITED METRO ENERGY                                                   Check all that apply.
 500 KINGSLAND AVENUE                                                     Contingent
                                                                          Unliquidated
 BROOKLYN, NY, 11222                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  181
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 UNITED RENTALS (NORTH AMERICA)                                        Check all that apply.
                                                                                                                         98,665.88
                                                                                                                       $________________________________
 UNITED STATES TREASURY                                                   Contingent
 PO BOX 100711                                                            Unliquidated
                                                                          Disputed
 ATLANTA, GA, 30384                                                    Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  Debtor         _______________________________________________________     Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  182
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             2,250.00
                                                                                                                       $________________________________
 VENARI SOURCING INC                                                      Contingent
 595 BALTIC AVENUE, 4D                                                    Unliquidated
                                                                          Disputed
 BROOKLYN, NY, 11217
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  183
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         123,595.00
                                                                                                                       $________________________________
 VERTIV CORPORATION
 PO BOX 70474                                                             Contingent
                                                                          Unliquidated
 CHICAGO, IL, 60673                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  184
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 VICON MACHINERY, LLC                                                  Check all that apply.
                                                                                                                        127.52
                                                                                                                       $________________________________
 VIN VAN OSS                                                              Contingent
 1801 ARCTIC AVENUE                                                       Unliquidated
                                                                          Disputed
 BOHEMIA, NY, 11716
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  185
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        39,880.63
                                                                                                                       $________________________________
 WALES DARBY INC.                                                      Check all that apply.
 LOCKBOX 9160                                                             Contingent
 PO BOX 70280                                                             Unliquidated
 PHILADELPHIA, PA, 19176-0280                                             Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  186
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 WALLACE EANNACE ASSOC. INC.                                           Check all that apply.
                                                                                                                         1,296.10
                                                                                                                       $________________________________
 P.O. BOX 9121                                                            Contingent
                                                                          Unliquidated
 PLAINVIEW, NY, 11803-9021                                                Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  Debtor         _______________________________________________________     Case number (if known)_____________________________________
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  187
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             333.38
                                                                                                                       $________________________________
 WALLWORK GROUP                                                           Contingent
 9 PATTON DRIVE                                                           Unliquidated
                                                                          Disputed
 WEST CALDWELL, NJ, 7006
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  188
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         10,901.77
                                                                                                                       $________________________________
 WALSH-ATKINSON COMPANY INC.
 1801 ARTIC AVENUE                                                        Contingent
 #B                                                                       Unliquidated
 BOHEMIA, NY, 11716                                                       Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  189
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 WASOFF PLUMBING & UTILITY INC                                         Check all that apply.
                                                                                                                        600.00
                                                                                                                       $________________________________
 150 MAIN STREET, TRLR 18                                                 Contingent
                                                                          Unliquidated
 ISLIP, NY, 11751                                                         Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  190
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        9,655.39
                                                                                                                       $________________________________
 Welby Brady Greenblatt                                                Check all that apply.
 11 Martine Ave                                                           Contingent
 White Plains, NY, 10606                                                  Unliquidated
                                                                          Disputed

                                                                       Basis for the claim: Legal Fees



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  191
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 YANNI ELECTRIAL OF WESTCHESTER                                        Check all that apply.
                                                                                                                         16,800.00
                                                                                                                       $________________________________
 551 EAST THIRD STREET                                                    Contingent
                                                                          Unliquidated
 MOUNT VERNON, NY, 10553                                                  Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  192
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             6,856.63
                                                                                                                       $________________________________
 YORK SCAFFOLD EQUIPMENT CORP                                             Contingent
 37-20 TWELFTH STREET                                                     Unliquidated
                                                                          Disputed
 LONG ISLAND CITY, NY, 11101
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  193
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         2,769.78
                                                                                                                       $________________________________
 ZO-AIR CO., INC.
 1337 LINCOLN AVENUE, UNIT 3                                              Contingent
                                                                          Unliquidated
 HOLBROOK, NY, 11741                                                      Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  194
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 ZURICH AMERICAN INSURANCE COMPANY                                     Check all that apply.
                                                                                                                        0.00
                                                                                                                       $________________________________
 1299 ZURICH WAY                                                          Contingent
                                                                          Unliquidated
 SHAUMBURG, IL, 60196-1056                                                Disputed
                                                                       Basis for the claim: Credit Card Debt



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $________________________________
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                          No
        Last 4 digits of account number         ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $________________________________
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                          No
        Last 4 digits of account number         ___________________       Yes




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 Debtor        _______________________________________________________    Case number (if known)_____________________________________
               Name                                         Pg 57 of 77
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          0.00
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     22,962,474.68
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                22,962,474.68
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

             J.P.R. Mechanical Inc.
 Debtor name __________________________________________________________________

                                         Southern District of New
 United States Bankruptcy Court for the:______________________          York
                            19-23480                                         7
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Office Lease                                      255 Main Street Realty Corp.
         State what the contract or    255 Main Street, 2nd Floor                        255 Main Street
 2.1     lease is for and the nature
                                       New Rochelle, NY
         of the debtor’s interest
                                                                                         New Rochelle, NY, 10801
                                       Lessee
         State the term remaining
                                       Month to Month
         List the contract number of
         any government contract

                                       Manufacturing Premises                            Action Paper Co., Inc.
         State what the contract or    429-441 E. 164th Street                           c/o Jonathan Rossman
 2.2     lease is for and the nature
         of the debtor’s interest      Bronx, NY 10456                                   110 Bennett Avenue, Apt. 4G
                                       Lessee                                            New York, NY, 10033
         State the term remaining      9-30-2022
         List the contract number of
         any government contract

                                       Agreement to Purchase Common                       Michael Van Oss
         State what the contract or    Stock of Michael Van OSs                           42 Sunshine Avenue
 2.3     lease is for and the nature
         of the debtor’s interest      Purchaser                                          Riverside, CT, 06878

         State the term remaining
         List the contract number of
         any government contract

                                       Equipment Lease: Two Forklifts                     HYG Financial Services
         State what the contract or
 2.4                                   Lessee                                             300 E. John Carpenter Feeway
         lease is for and the nature
         of the debtor’s interest                                                         Irving, TX, 75062-2712

         State the term remaining      11-1-2020
         List the contract number of
         any government contract

                                       Equipment Lease: Multiple Items                    Key Equipment Finance
         State what the contract or    Lessee
 2.5     lease is for and the nature
                                                                                          1000 S. McCaslin Blvd.
         of the debtor’s interest                                                         Louisville, CO, 80027

         State the term remaining      6-1-2023
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        3
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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Equipment Lease: HVAC Plasma                   Machinery Finance Resources, LLC
            State what the contract or    Cutting System                                 651 Day Hill Road
   6
 2.____     lease is for and the nature   Lessee                                         Windsor, CT, 06095
            of the debtor’s interest
                                          7-1-2013
            State the term remaining
            List the contract number of
            any government contract

                                          Equipment Finance: Truck                       Milea Truck Sales Corp.
            State what the contract or    Lessee                                         885 E 149th Street
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Bronx, NY, 10455-5010

            State the term remaining      5-1-2022
            List the contract number of
            any government contract

                                          Equipment Finance: Trucks                      BMO Harris Bank NA
            State what the contract or    Lessee                                         300 E John carpenter FWY
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Irving, TX, 75062

            State the term remaining
                                          7-8-2021
            List the contract number of
            any government contract

            State what the contract or
                                          Equipment Finance: Trucks                      Isuzu Finance of America, Inc.
   9
 2.____     lease is for and the nature   Lessee                                         2500 Westchester Avenue, Suite 312
            of the debtor’s interest                                                     Purchase, NY, 10577
            State the term remaining      7-1-2023
            List the contract number of
            any government contract

                                          Collective Bargaining Agreement                Local 28- Sheet Metal Workers
            State what the contract or                                                   500 Greenwich Street
   10
 2.____     lease is for and the nature                                                  New York, NY, 10013
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          Collective Bargaining Agreement                Local 282 International Brotherhood of Teamsters
            State what the contract or
   11
 2.____     lease is for and the nature                                                  2500 Marcus AVenue
            of the debtor’s interest                                                     New Hyde Park, NY, 11042

            State the term remaining
            List the contract number of
            any government contract

                                          Collective Bargaining Agreement                Local 638 Steamfitters
            State what the contract or
   12
 2.____     lease is for and the nature
                                                                                         27-08 40th Avenue., 4th Floor
            of the debtor’s interest                                                     Long Island City, NY, 11101

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
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               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Manufacturing Premises                         A&I Bronx Realty
            State what the contract or    434 E. 165th Street                            41 Maujer Street
   13
 2.____     lease is for and the nature   Bronx, NY 10456                                Brooklyn, NY, 11206
            of the debtor’s interest
                                          Lessee
                                          8-30-2021
            State the term remaining
            List the contract number of
            any government contract

                                          Equipment Finance: Trucks                      BMO Harris Bank NA
            State what the contract or    Lessee                                         300 E John carpenter FWY
   14
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Irving, TX, 75062

            State the term remaining      4-1-2023
            List the contract number of
            any government contract

                                          Equipment Lease: Copier                        Cannon Solutions America Inc.
            State what the contract or    Lessee                                         One Canon Park
   15
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                         Melville, NY, 11747

            State the term remaining
                                          2-1-2021
            List the contract number of
            any government contract

            State what the contract or
                                          Equipment Finance: Trucks                      BMO Harris BAnk
   16
 2.____     lease is for and the nature   Lessee                                         30 E. John Carpenter Freeway
            of the debtor’s interest                                                     Irving, TX, 75062-2712
            State the term remaining      1-10-2023
            List the contract number of
            any government contract

                                          Equipment Lease: 3 copiers                     Commercial Capital Company LLP
            State what the contract or    Lessee                                         8215 Melrose Dr., Ste. 100
   17
 2.____     lease is for and the nature                                                  Lenexa, KS, 66214-1617
            of the debtor’s interest

            State the term remaining
                                          7-1-2021
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                        page ___
                                                                                                                                             3 of ___
                                                                                                                                                  3
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                                                                 Pg 61 of 77
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             J.P.R. Mechanical Inc.

                                         Southern District of New York
 United States Bankruptcy Court for the:_______________________________

                            19-23480
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                       _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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                                                              Pg 62 of 77
 Fill in this information to identify the case and this filing:

              J.P.R. Mechanical Inc.
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

                              19-23480
 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/07/2019
        Executed on ______________                          /s/ Timothy Schmidt
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Timothy Schmidt
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
             J.P.R. Mechanical Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern                    District of _________
                                                 District of New York
                                                                              (State)
Case number (If known):   _________________________
                           19-23480                                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                           67,623,667.00
           fiscal year to filing date:           01/01/2019
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2018
                                           From ___________         to     12/31/2018
                                                                           ___________         ✔ Operating a business
                                                                                                                                         115,046,119.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other
           For the year before that:             01/01/2017
                                           From ___________         to     12/31/2017
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                           84,945,281.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




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Debtor
                  J.P.R. Mechanical Inc.
                  _______________________________________________________                                             19-23480
                                                                                               Case number (if known)_____________________________________
                  Name




 Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ✔ Check run to be provided
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

              __________________________________________      ________        $_________________                 Secured debt
              Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
              __________________________________________
              Creditor’s name                                                                                    Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

              Insider’s name and address                       Dates          Total amount or value        Reasons for payment or transfer
     4.1.

              __________________________________________     _________       $__________________
              Insider’s name

                                                             _________

                                                             _________


              Relationship to debtor
              __________________________________________



     4.2.     __________________________________________
              Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




              Relationship to debtor

              __________________________________________



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Debtor
                 J.P.R. Mechanical Inc.
                 _______________________________________________________                                                  19-23480
                                                                                                   Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
           None
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken
                                                               Failure to release funded payroll
             Dime Bank
             __________________________________________                                                                  08/16/2018
                                                                                                                         _______________       400,000.00
                                                                                                                                              $___________
             Creditor’s name
             300


                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Workers Comp Cases                                                               To Be Provided
     7.1.                                                                                                                                      
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                       Court or agency’s name and address
            Verdus Corporaiton d/b/a Hays v.                                                 Supreme Court of the State of New York            
                                                                                                                                               ✔   Pending
     7.2.
            J.P.R. Mechanical Inc. d/b/a JPR                                                                                                      On appeal
            Mechanical
             Case number
                                                                                                                                                  Concluded



      58435/2019
             _________________________________


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Debtor
                 J.P.R. Mechanical Inc.
                 _______________________________________________________                                                  19-23480
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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Debtor
                J.P.R. Mechanical Inc.
               _______________________________________________________                                                   19-23480
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Kirby Aisner & Curley LLP
            __________________________________________
   11.1.
                                                                                                                         ______________      $_________
                                                                                                                                               10,000.00
            Address

            700 Post Road
            Suite 237
            Scarsdale, NY 10583




            Email or website address
            www.kacllp.com
            _________________________________

            Who made the payment, if not debtor?

            Timothy Schimt
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor
                J.P.R. Mechanical Inc.
               _______________________________________________________                                                  19-23480
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor
                 J.P.R. Mechanical Inc.
                 _______________________________________________________                                                 19-23480
                                                                                                   Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            J.P.R. Mechanical Inc.
                  _______________________________________________________                                                19-23480
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor
              J.P.R. Mechanical Inc.
              _______________________________________________________                                                 19-23480
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

          Various Customers                                                                        The debtor is holding property paid            $_________
                                                                                                                                                    0.00
          ______________________________________                                                   for by certain customer. A detailed
          Name
                                                                                                   list is in the Trustee's possession




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor
                J.P.R. Mechanical Inc.
                _______________________________________________________                                             19-23480
                                                                                             Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                  _______________________________________________________                                               19-23480
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Joseph M . Sciacca CPA                                                                          From _______
   26a.1.     __________________________________________________________________________________
              Name
              23 Willis Avenue, Syosset, NY 11791                                                             To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                _______________________________________________________                                              19-23480
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Timothy Schmidt                             1 Mortar Rock Road, Westport, CT 06880                  President                               100%




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Timothy Schmidt
            ______________________________________________________________                                               _____________
                                                                                      __To   be Provided_____                                -Salary
            Name
            1 Mortar Rock Road
            Westport, CT 06880                                                                                           _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            President
            ______________________________________________________________                                               _____________
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                   _______________________________________________________                                                 19-23480
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       10/07/2019
                               _________________
                                MM / DD / YYYY



              /s/ Timothy Schmidt
              ___________________________________________________________                              Timothy Schmidt
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                             Case number (if known)



                                                 Continuation Sheet for Official Form 207
6) Setoffs

Signature Bank                                                                        $180,000.00




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